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LET IT BE FILED

USS

UNITED STATES DISTRICT COURT 72/2!
for the DISTRICT OF COLUMBIA

Alleging Injured Party Status, Accuser, =: ngAGISTRATE NO. 21-MJ-397
Presenter, Plaintiff in error :
. VIOLATIONS:
18 U.S.C. § 1752(a)(1)
V. : (Entering and Remaining in a Restricted
: Building)
Eric-Bochene, a man > 18 U.S.C. § 1752(a)(2)
Under the Color of Law, Named in Error : (Disorderly and Disruptive Conduct in a
and Alleged To Be The Injuring Party, : Restricted Building)

Accused, Presentee, Defendant; ;
“BRIC BOCHENE”, “ERIC-J-BOCHENE” : 40 U.S.C. § 5104(e)(2)(D)
: (Violent Entry and Disorderly Conduct and
: Parading, Demonstrating, or Picketing in a
: Capitol Building)

: 40 U.S.C. § 5104(e)(2)(G)

: (Parading, Demonstrating, or Picketing in a
Capitol Building)

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Angela Clerk
LS, Distrivt Cin |

 

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Eric-Bochene
19 Pinecrest Road, New Hartford, New York ( 13413 )
+1 (315) 527-4494

 

ORDER TO DISMISS

I, Eric-Bochene, a man, in this Court of Record, Motion for an Order of Dismissal regarding
case: 1-21-cr-00418 and the original complaint and charges, as the court record states:

“Terminate Deadlines and Hearings as to ERIC BOCHENE (1): Preliminary Hearing set
for 7/19/2021 at 1:00 PM by telephonic/VTC before Magistrate Judge G. Michael
Harvey is hereby VACATED. (zpt) (Entered: 07/15/2021)”.

This is in clear violation of Due Process, in violation to the Constitution of the United States and,
lacks precedence. It is in direct violation and contrary to the Federal Rules of Evidence, Rule
602 - “Need for Personal Knowledge”, Rule 802, “the Rule Against Hearsay”, and Federal Rules
of Civil Procedure; Rule 26 “Duty to Disclose; General Provisions Governing Discovery”. And,
in violation of 22 U.S. Code § 7102.

Affirmations:
Reserving ALL my Natural God-Given Unalienable Rights, Waiving None, Ever.
Pursuant to: 28 U.S. Code § 1746(1)

Done on this 10" day, of the 8® month, in the year two thousand and twenty-one.

 
 
 

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we Erio-Bochene®, a nim, Will All Rights Reserved, Always

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Judge Michael Harvey does a good job in Oxbow
explaining the governing law and how it has shifted
with the 2015 revisions to the Rules.

Rule 26 (b) (1)

[U]nder the amended Rule 26,[3] discovery must be relevant and “proportional to the needs of
the case.” Fed. R. Civ. P. 26(b)(1). To determine whether a discovery request is proportional,
courts weigh the following six factors: “(1) the importance of the issues at stake in this action;
(2) the amount in controversy; (3) the parties’ relative access to relevant information; (4) the
parties’ resources; (5) the importance of the discovery in resolving the issues, and (6) whether
the burden or expense of the proposed discovery outweighs its likely benefit.” Williams v. BASF
Catalysts, LLC, Civ. Action No. 11-1754, 2017 WL 3317295, at *4 (D.N.J. Aug. 3, 2017) (citing
Fed. R. Civ. P. 26(b)(1)); Arrow Enter. Computing Solutions, Inc. v. BlueAlly, LLC, No. 5:15-
CV-37-FL, 2017 WL 876266, at *4 (E.D.N.C. Mar. 3, 2017); FTC v. Staples, Inc., Civ. Action
No. 15-2115 (EGS), 2016 WL 4194045, at *2 (D.D.C. Feb. 26, 2016).

“TN]o single factor is designed to outweigh the other factors in determining whether the
discovery sought is proportional,” and all proportionality determinations must be made on a
case-by-case basis. Williams, 2017 WL 3317295, at *4 (internal citations omitted); see also Bell
v. Reading Hosp., Civ. Action No. 13-5927, 2016 WL 162991, at *2 (E.D. Pa. Jan. 14, 2016). To
be sure, however, “the amendments to Rule 26(b) do not alter the basic allocation of the burden
on the party resisting discovery to—in order to successfully resist a motion to compel—
specifically object and show that . . . a discovery request would impose an undue burden or
expense or is otherwise objectionable.” Mir v. L-3 Comme’ns Integrated Sys., L.P., 319 F.R.D.
220, 226 (N.D. Tex. 2016). ...

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